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                 EXH
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                                                                                Page       1


 1              IN    THE       UNITED      STATES      DISTRICT      COURT


 2                        FOR    THE    DISTRICT        OF    MARYLAND


 3   MADISON     MECHANICAL,               INC.,:


 4   et   al.


 5        Plaintiffs


 6                   Vs.                          : Case       No.:


 7   TWIN   CITY      FI RE      INSURANCE        :     1
                                                        : 17-cv-01357-GLR


 8   COMPANY,        et    al.


 9        Defendants


10


11


12                   Deposition            of   GLENN    HASLAM,      was    taken    on


13   Thursday,        August         22,    2019,     commencing        at   2
                                                                             : 46    p. m.,


14   at   Baxter,         Baker,       Sidle,     Conn       & Jones,    120   East


15   Baltimore        Street,          21st     Floor,       Balti more,     Maryland,


16   before     MICHELE          D
                                 .     LAMBIE,      Notary      Public.


17


18


19


20   Reported        By:


21                          Michele         D
                                            .    Lambie,       CSR-RPR




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                                         itex
                                            tLega
                                                l S
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                                                    tions
                2
                15-241-1000          6
                                     10-434
                                          -8588       3
                                                      02-571-0510     2
                                                                      02-803-8830
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                                                                                    Page   2


 1   APPE ARANCES:


 2                     ON    BE HALF          OF    THE     PL AI NTI FFS:


 3           Baxter,        Ba ker,          Si dle,      Conn      &   Jones.


 4                    DANI ELLE          M.    VRANI AN,          ESQUI RE.


 5                    dmv@ bbsclaw. co m.


 6                     CAROLI NE             PAYTON,        ES QUI RE.


 7                    120    East        Balti more             Street,      21st     Floor.


 8                    Balti more,             Marylan d           21202.


 9                    (
                      410)         230 -3800


10


11                     ON    BE HALF          OF    THE     DE FENDANTS:


12           Wile y    Rei n       LLP


13                    CH ARLES          C.    LE MLEY,          ES QUI RE


14                    cle mle y@ wile yrein. co m


15                     ANNA        J.    SCH AFFNE R,            ES QUI RE


16                     aschaffner@ wile yrei n. co m


17                    1776     K    Street,             N. W.


18                    Was hington,             D. C.        20006


19                    (
                      202)         719-7000


20   ALS O    PRESE NT:            Edwar d         J.    Longosz,        II,   Es qui re


21                                 Gar y      Garofalo




                                        Ver
                                          itex
                                             tLega
                                                 l S
                                                   olu
                                                     tions
                2
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                                                        02-571-0510     2
                                                                        02-803-8830
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                                                                      Page   3


 1                            EXAMINATION       INDEX

 2

     WITNESS:        GLENN    HASLAM                              PAGE

 3        BY   MR.     LEMLEY                                                4

 4

 5                               EXHIBIT      INDEX

 6                      (
                        Attached       to    Transcript.)

 7                                                                        MARKED

     GLENN     HASLAM

 8    Exhibit     23    Email    dated      March   6
                                                    ,   2015   with              4

                        attachments

 9

      Exhibit     24    HFP   Pronto     Application                             4

10

      Exhibit     25    Email    dated      March   6
                                                    ,   2015   with          12

11                      attachments

12    Exhibit     26    Email    dated      April   8
                                                    ,   2016                 14

13

14

15

16

17

18

19

20

21


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                                                            02-803-8830
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                                                                                      Page    4


 1                                   P R O C E E D I             N G S


 2                 (
                   Whereupon,              Haslam       Deposition            Exhibit       23,


 3   Email      dated       March    6
                                     ,     2015    with       attachments,            marked


 4   for   identification.)


 5                 (
                   Whereupon,              Haslam       Deposition            Exhibit       24,


 6   HFP   Pronto       Application,             marked       for   identification.)


 7                                   GLENN       HASLAM


 8   the   Deponent,          called       for    examination            by    the


 9   Defendants,            being    first       duly       sworn   to    tell       the


10   truth,      the    whole       truth,       and    nothing      but       the    truth,


11   testified         as    follows:


1
2                                        EXAMINATION


1
3                  BY       MR.    LEMLEY:


1
4          Q
           .       Hey,       how    are    you?


15         A.      I
                   'm        good.


1
6          Q
           .       Good.           Can    you    state       your   name       for    the


17   record,      please?


18         A.      Yes.           Glenn    Haslam.


1
9          Q
           .       And       what    do    you    for       a living,         Mr.    Haslam?


20         A.      I
                   'm        the    president          of   Madison       Mechanical.


21         Q
           .       Do       you    also    work    for       Harkins,         or    no?




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                                                                                        P
                                                                                        age   5


 1          A
            .     No.

 2          Q
            .     How   long     have             you    been      the    president          of

 3   Madison     Mechanical?

 4          A
            .     Somewhere          around             '
                                                        93.        Well,     LLC.       Let       me

 5   re-answer      that.

 6          Q
            .     I was       going       to       say.

 7          A
            .     I
                  'm    the     president                of    Madison      Mechanical,

 8   LLC.

 9          Q
            .     Okay.

1
0           A
            .     And   that     was          as    of    January         1
                                                                          st     of     '
                                                                                        16.

1
1           Q
            .     Before       that?

1
2           A
            .     I was      president              of    Madison         Mechanical,

1
3    Inc.   s
            ince     1
                     993.

1
4           Q
            .     Okay.        You    were          also       part      owner     of

1
5    Madison     Mechanical          OS       Corp.;          is   that     right?

1
6           A
            .     That' s      correct.

1
7           Q
            .     And   did     you       -   -    what       role    did    you      play

1
8    with   respect     to     getting             insurance          for   Madison

1
9    Mechanical?        We' re       talking             specifically            the

20   2
     015/2016       time      frame       particularly.

21          A
            .     I didn' t      play             a direct         role.




                                 V
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                                                                                                    P
                                                                                                    age          6


 1          Q
            .             Okay.

 2          A
            .             I just          looked             at    the       cost.        Bob

 3   Buczkowski,                   with    the          help       of    Brant       Geiman,        handled

 4   the    -    -    the         forms,       the       paperwork             back       and   forth.

 5   Bill       Franey             would       bring          it       in,    and    I would        sign          a

 6   piece           of   paper          that       I received                the    policies.               I

 7   never           read         them.

 8          Q
            .             Okay.

 9          A
            .             He       was    my    agent             since       1993.        He   handled

1
0    everything.

1
1           Q
            .             So,       let    me       just          ask    you    about       one

1
2    application,

1
3           A
            .             Okay.

1
4           Q
            .             -   -    and    that' s            been       marked       as    2
                                                                                           4.

1
5                         MR.       LEMLEY:              Here          you    go.     I know        we' re

1
6    out    of        order.

1
7                         MS.       VRANIAN:                 That' s         okay.

1
8    BY    MR.        LEMLEY:

1
9           Q
            .             So,       this       is       an    application             that      i
                                                                                                s    -   -    if

20   you    look          back       at    page          1
                                                         0        of    1
                                                                        1,     you    signed        or       it

21   has    your          signature             -   -




                                               V
                                               eri
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                                                                                           P
                                                                                           age        7


 1          A
            .         That' s         me.

 2          Q
            .         -    -   December          29,    2015?

 3          A
            .             (
                          Nodding        head         yes.)

 4          Q
            .         Did       you    fill       out       this    application,             do    you

 5   know,      or    was       it    f
                                      illed           out    for    you?

 6          A
            .         No.        I
                                 ' ll       have       to    tell       you   I didn' t         f
                                                                                                ill

 7   it    out.

 8          Q
            .         If       you    look       at    page       7 of    1
                                                                          1,     and      it' s

 9   true    of      many       of    other       pages,          too,    there      are     boxes.

1
0    They    are      questions             with       answers          checked,       no,      no,

1
1    no,    no,      no,       no,    no?

1
2           A
            .         Yeah.

1
3           Q
            .         Did       you    put       those       check       marks      in,    or     did

1
4    somebody         else       do    that?

1
5           A
            .         Somebody           else.

1
6           Q
            .         Do       you    know       who    did       that?

1
7           A
            .         What       i
                                 s     the       date       of    this?

1
8           Q
            .         December           29th,         2
                                                       015.

1
9           A
            .         That       would       have       been       Brant      Geiman.

20          Q
            .         Do       you    know       how    he       came    to   get    the

21   information               that' s      in    here?




                                         V
                                         eri
                                           tex
                                             tLega
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                                                   olu
                                                     tion
                                                        s
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                                                                                                          P
                                                                                                          age        8


1           A
            .       Normally,             I don' t         -   -    I don' t                  know

2    specifically,            but     normally,                he       -   -       him       and       Pat

3   Bierderman           would       go    back       and          f
                                                                   orth                 on    these

4    applications.              If    he       had    any          questions,                      he    would

5    call    her.

6           Q
            .       And    so,       f
                                     or        example,             looking                  back        at    page

7    7 of    1
             1,     there's          questions             about                -   -    Question             9 A
                                                                                                                ,

8   Have     there       been    any       actual          or       potential                      lawsuits          or

9    c
     laims        that    may    fall          within          the          scope             of    the

1
0    coverage       requested?

1
1                   9 C
                      ,       Are     there          any       pending                   c
                                                                                         laims           or

1
2   demands        against       an       applicant                or       any          national             person

1
3    f
     or     whom    this      insurance              i
                                                     s     intended?

1
4                   Do    you    recall          any       discussion                         of    those,       or

1
5   did     you    just    count          on    Pat      Bierderman                          and    Brant       to

1
6   have     put    their       answers          down          right?

1
7           A
            .       Yeah.        I don' t            recall             any             discussions             at

1
8    this    time    with       them.

1
9           Q
            .       All    right.              I
                                               'm     done          with                that.           So,    look

2
0    at   Exhibit        1
                         3.

2
1                   MS.    VRANIAN:              Thirteen.




                                          V
                                          eri
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                                                      tion
                                                         s
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                                                                                                     P
                                                                                                     age     9


1   BY     MR.    LEMLEY:

2           Q
            .       So,       you' ve       heard              discussions             -   -   you    heard

3    some    of    the    discussions                     today       about       when

4   Mr.     Buczkowski's             ownership                  was    diluted             from      1
                                                                                                     3

5   percent        to    7 percent.                      You    heard       us    ask

6   Mr.     Garofalo          some    questions                     about    that?

7           A
            .       Um-hum.

8           Q
            .       Do    you    know               when       Mr.    Buczkowski's

9    ownership          was    diluted?

1
0           A
            .       Well,       Mr.     -       -       I don' t      know       the       exact      date,

1
1   but     when    he    failed        to              put    in    his    capital.

1
2           Q
            .       So,       what    i
                                      s             the       basis    f
                                                                       or        you       saying         that

1
3   his     ownership          was    diluted                  when    he    failed            to    put    in

1
4    the    capital?

1
5           A
            .       I
                    t     was    my     understanding,                       and       I would

1
6    assume       maybe       through               a conversation                with         one    of    our

1
7    attorneys,          that    even               if    the       agreement          does         not

1
8    specify       it,    it's       a matter                  of    law.

1
9           Q
            .       Okay.

2
0           A
            .       And       that's        -       -    that's       what       we    s
                                                                                       tarted

2
1    talking       to    Bob    about,                  and    this    spreadsheet                  was




                                        V
                                        eri
                                          tex
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                                                       s
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                                                                                                    P
                                                                                                    age       1
                                                                                                              0


1   prepared by               Bob.        And    -   -




2          Q
           .         Okay.

3          A
           .         And          the    purpose          of    the       spreadsheet,

4   because       we      -   -    we    were    telling             Bob       the       7 percent.

5   Bob    put    this            spreadsheet             together             to    show          the      loan

6    and   that      he       had       only    been       reduced             to    9
                                                                                     .71           percent.

7                    So,          this    was    Bob's          rebuttal             to       us    telling

8   him    he    was      reduced          to    7 percent                or       7 point          whatever

9   percent.           So,         Bob    Buczkowski,                if       you    look          at    this

1
0   email,       i
                 s     the         author       of       this       spreadsheet.

1
1          Q
           .         So,          other    than          that       you       had    an

1
2   understanding                  from    talking             to    your          lawyers,             i
                                                                                                        s

1
3    there      anything            else,       any       other       -   -    any       provision            of

1
4    the   shareholder's                  agreement             or    of       Maryland             law      or

1
5    anything        else          that    you' re         aware          of?

1
6          A
           .         No.

1
7          Q
           .         So,          now    look    at       Number          2
                                                                          3.

1
8                    MS.          VRANIAN:           Do    you       have          the    marked            one

1
9    of    2
           3?

2
0                    MR.          LEMLEY:        Did       I take             it    back?           Here

2
1    you   go.       I
                     'm           sorry.        I thought             I left             it    over




                                           V
                                           eri
                                             tex
                                               tLega
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                                                                                                 Page      1
                                                                                                           1


 1    there.           My       apologies.


 2                      MS.       VRANI AN:             This       is    the       one    you    need.


 3                      THE       WITNESS:              Okay.


 4   BY     MS.       VRANI AN:


 5           Q
             .          So,       the       front       page       is    Mr.       Garofalo


 6    saying,          This       makes       no    sense,          loans          to    shareholders


 7    and    so       forth,          talking       about          how       the    capital          calls


 8    and    loans          are       being    treated.                 We    looked       at    that


 9   earlier,           but       I realized             that       there          were    some       pages


10    that    had       been          with    that       that       weren' t            attached.          So,


11    that' s         why       this    Exhibit          23    has       those          pages


12    attached          -   -




13           A.         Okay.


14           Q
             .          -   -    in    case    you' re         wondering.                 Then       it


15   goes     to       Buczkowski' s               section.              So,       it    looks       to   me


16    like    -   -    looking          at    Mr.       Garofalo' s            description,


17    looking          at       the    charts,          it    doesn' t         look       to    me    like


18    anybody          was       saying       at    the       time       that       the    ownership


19    interest          was       diluted          to    anything             at    the    time?


20           A.         Well,          if    you    read       Gary' s         email,          I think


21    it    speaks          for       itself,       and       it    does       not       say    that,      I




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                                                itex
                                                   tLega
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                                                                                                 age        1
                                                                                                            2


1    agree.           But        if    you       go    back    to    this    email,             it's    the

2    same    email             that        was    in    Exhibit       1
                                                                      3,     this       -   -    this

3    shows      that           there        was       conversations          with       Bob       that       he

4   was     diluted              to    7 point          something       percent,                and    Bob's

5    argument              was    he       was    only       diluted    to       9
                                                                                 .71        percent.

6                          So,    there          was    clearly       discussions                that

7   his     inability                 or    his       unwillingness,             because          it    was

8   not     his        inability,                to    put    capital       in    was       resulting

9    in   his     -    -    his       s
                                      tock        being       diluted.

1
0           Q
            .              I understand.                 Do    you    know       when       was       the

1
1    f
     irst       time           that        you    f
                                                  irmly        understood          that          it    had

1
2    actually              been       diluted?

1
3           A
            .              That       was    the       f
                                                       irst     time    he       didn' t        put

1
4   money       in.

1
5           Q
            .              So,    at       that       point,    you    thought          he's

1
6   diluted?

1
7           A
            .              Yeah.           Yeah.

1
8                          MR.    LEMLEY:              Can    you    mark    that       as

1
9   whatever               i
                           s     next?           I think       it's    2
                                                                       5.

2
0                          (
                           Whereupon,                 Haslam    Deposition          Exhibit             2
                                                                                                        5,

2
1   Email       dated            March       6
                                             ,        2
                                                      015     with    attachments,                marked




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                                                                                                P
                                                                                                age     1
                                                                                                        3


1    f
     or     identification.)

2   BY     MR.    LEMLEY:

3           Q
            .       All       right.        So,    this          i
                                                                 s     March             29th,       2
                                                                                                     016,

4    8
     :31     a
             . m.        I
                         t's        from    Brant       Geiman          to          Gary       Garofalo,

5    copy    to    you,       additional          promissory                notes.              I
                                                                                                t    says,

6    P
     lease        s
                  ee     attached          promissory                notes          and       related

7    interest       spreadsheet.                 These       are       the          notes       that

8   will     even       out    equity       based       on       Bob's          contribution.

9    P
     lease        give    Glenn       a call       later             today          to    review.          Do

1
0    you    know    what       they' re      talking             about          there?

1
1           A
            .       Yeah.           This    i
                                            s     back       -   -    this          i
                                                                                    s     in

1
2    response       to    Gary's          email.        We       were       -   -    we       were

1
3   having        taxes       done    at    the    time.              I don' t            know

1
4    specifically             how    we    got    on    this          discussion                as   far

1
5    as    re-doing       the       capital,       but       it       was       definitely

1
6   decided        that       we    weren' t      going          down       that          road,      and

1
7    it    was    not    done.

1
8                   So,       the    2
                                     015     tax       returns          that             were    done,

1
9    it    was    Bob's       f
                              inal        K-i.     And       that       K-i,             I don' t      know

2
0   exactly        what       it    showed,       but    it          showed          a reduction,

2
1   whatever        the       number       was    that       they       came             up    with,    and




                                          V
                                          eri
                                            tex
                                              tLega
                                                  l S
                                                    olu
                                                      tion
                                                         s
                  2
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                                                       02-571-0510              2
                                                                                02-803
                                                                                     -8830
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                                                                                                        P
                                                                                                        age     1
                                                                                                                4


1    I believe                it       was       the       7 point          something            percent.

2              Q
               .          But          I understand                   that       you    don' t     think

3    this          was    done,             but       do    you       understand            what    the

4   proposal              was?              What       were          the    promissory            notes?

5              A
               .          I
                          t        -   -    it    was       -   -    it    was    back      to    the

6    conversation                      that       was       somebody             threw      an    idea    around

7    of    -   -    of    instead                of    diluting             Bob,       recapitalize

8    loans.              In    other             words,             decrease       our      capital,       but

9    add       it    to       our          loan,       but          that    was    not      done.

1
0              Q
               .          Okay.              So,       as       of    this       chart,      March       29th,

1
1    it    still          refers             to       his       capital          call    percent         paid

1
2   was        being          lowered,                but       it    also       says    his      percent

1
3    ownership                at       the       top       i
                                                           s        still    1
                                                                             3     percent,         right?

1
4              A
               .          That's             it.           That       was    the       starting         number

1
5   before           the       dilution.

1
6                         MR.          LEMLEY:              And       then       let's      mark    that

1
7    one.

1
8                         (
                          Whereupon,                       Haslam          Deposition            Exhibit      26,

1
9   Email           dated April                   8
                                                  ,        2
                                                           016,           marked       f
                                                                                       or

2
0    identification.)

2
1   BY     MR.       LEMLEY:




                                                      V
                                                      eri
                                                        tex
                                                          tLega
                                                              l S
                                                                olu
                                                                  tion
                                                                     s
                     2
                     15-241-1000                 6
                                                 10-434
                                                      -8588           3
                                                                      02-571-0510        2
                                                                                         02-803
                                                                                              -8830
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                                                                                            P
                                                                                            age    1
                                                                                                   5


 1           Q
             .            So,    this     is    an    April       8
                                                                  ,        2016       email      from

 2   Brant       to       Mr.    Garofalo,           a copy       to       you,       regarding

 3   Madison          equity        loans?

 4           A
             .            Yes.      This       is    that       same       spreadsheet

 5   without          handwriting              on    it.

 6           Q
             .            This    is    the     spreadsheet                where          they' re

 7    talking         about       converting           parts          of    your          capital

 8    calls      to       loans     and      leaving        everybody                at    their

 9   existing             percent       ownership,              correct?

1
0            A
             .            Correct.

1
1            Q
             .            It    still     shows       Buczkowski                at    13    percent,

1
2     right?

1
3            A
             .            Yes,    but     13    was    the       starting             point,       and

1
4     this    was         not    done.

1
5            Q
             .            And    then     Exhibit          22    is    one       of       the   last

16    ones    I   -   -    the    ones       that     I talked             to    Mr.       Garofalo

1
7     about.

1
8            A
             .            That' s      21.      Sorry.

19                        MS.    VRANIAN:            Yes.

20                        THE    WITNESS:            Okay.

21   BY   MR.     LEMLEY:




                                         V
                                         eri
                                           tex
                                             tLega
                                                 l S
                                                   olu
                                                     tion
                                                        s
                  2
                  15-241-1000          6
                                       10-434
                                            -8588      3
                                                       02-571-0510          2
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                                                                                 -8830
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                                                                                             P
                                                                                             age        1
                                                                                                        6


1           Q
            .       This       i
                               s    the     next          day       after       the    exhibit          we

2    just    looked       at,      April        9
                                                th,           2
                                                              016.         I
                                                                           t     attaches          the

3    same    chart?

4           A
            .       The    same       chart.

5           Q
            .       Yes.        And    it       says,          We    have

6    recharacterized               a portion              of    the       capital       we       put    in

7    to    loans    to    MM.       Accordingly,                    the    capital

8    contributions             f
                               or     each          of    your       1
                                                                     0     percent

9    ownerships          were      reduced           to       $
                                                              110,000.               Both    of    you

1
0   had     $
            180, 160       recharacterized                      from       capital          to    loans.

1
1    So,    this    i
                    s     saying       that          it's       done       it    s
                                                                                 eems        to    me.

1
2           A
            .       That's         what     it       says,          but    it    was    not       done.

1
3   And     the    K-is    that       Reznick             prepared          will       support

1
4    that.

1
5           Q
            .       All    of      this     -   -    why       were       you    going       through

1
6    all    of    this    if    you    thought                that    his       dilution          had

1
7   been     automatic?             You     would             have    had       to    reverse          the

1
8   dilution,        wouldn' t         you?

1
9           A
            .       You    would       have          had       to.        That's       exactly

2
0    r
     ight,        which    i
                           s,       hence,           why       it    didn' t         happen.

2
1                   MR.    LEMLEY:              Go       to    Exhibit          9
                                                                                .




                                      V
                                      eri
                                        tex
                                          tLega
                                              l S
                                                olu
                                                  tion
                                                     s
                  2
                  15-241-1000       6
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                                                                                                 P
                                                                                                 age     1
                                                                                                         7


1   BY     MR.          LEMLEY:

2           Q
            .             Exhibit          9 i
                                             s        the       consent        of    sole       director

3    that       -   -    that    you       s
                                           igned           on    September           1
                                                                                     5th,        2
                                                                                                 016;        do

4    you    recall             that?

5           A
            .             I do.

6           Q
            .             This       document             says    if     you    look       at    the

7   bottom,              The    f
                                ollowing              resolutions              shall       be    and

8   hereby              are    taken       by    the       director        of       the    corporation

9    as    of       the       date    f
                                      irst           hereinabove           written,             which    i
                                                                                                         s

1
0    September                1
                              5th,     2
                                       016,           and       that     says       that       effective

1
1   April           1
                    st,        2
                               015,        you       reissued          stock        to    dilute

1
2   Mr.     Buczkowski's                   ownership,             correct?

1
3           A
            .             Correct.

1
4           Q
            .             Why    did       you       do    this     if    it    was

1
5    automatically                   done             if    you     thought          it    was

1
6    automatically                   done       in    March       of     2
                                                                         015?

1
7           A
            .             This       was    just          housecleaning,                 that    we    had

1
8    a company                that    we    had       a lot       going        on,       and    when    we

1
9   got     s
            ettled              down       and       could       clean     up,       we    c
                                                                                           leaned        it

2
0   up.

2
1           Q             Wasn' t      this          done       because        just       a couple       of




                                             V
                                             eri
                                               tex
                                                 tLega
                                                     l S
                                                       olu
                                                         tion
                                                            s
                        2
                        15-241-1000        6
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                                                                                             P
                                                                                             age        1
                                                                                                        8


1   weeks        before          this    Twin       City      had    i
                                                                     ssued            a coverage

2   position           saying          there    was      no    coverage              because       of

3    the    1
            3-percent               ownership?

4           A
            .          No.

5                      MS.       VRANIAN:           Objection.

6   BY     MR.    LEMLEY:

7           Q
            .          Are       you    aware       of   anything          that        happened

8   between        -   -    well,       anything         that       happened           before

9    September             1
                           5th,        other    than       your      understanding                 of

1
0    the    March          2
                           015      email?          Anything         that       would        give       us

1
1    any    evidence             that    would       show      us    anything           that       would

1
2    show    that          Mr.    Buczkowski's             ownership            was     diluted

1
3   before        September             1
                                        5th,        2
                                                    016?

1
4           A
            .          There        were      spreadsheets            that           showed    it.

1
5           Q
            .          Those        spreadsheets              that    we    just        showed

1
6    that    said          we' re      not    diluting         him?

1
7           A
            .          No,       no,    no.     Those         spreadsheets              showed

1
8    that    we    are       diluting          him,      and    Bob    was           coming    back

1
9    and    saying          that       you    can    only      dilute       me        down    to

2
0    this.

2
1           Q
            .          If    that's          what    you      want    to    -    -    they    were




                                             V
                                             eri
                                               tex
                                                 tLega
                                                     l S
                                                       olu
                                                         tion
                                                            s
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                                                                                                   P
                                                                                                   age     1
                                                                                                           9


 1    showing      you       a different              plan       -   -




 2           A
             .         That' s         not     what       I want          to    call          them.

 3    That' s    what        they       are.

 4           Q
             .         No.        Well,        the    spreadsheets                   that          we    just

 5    talked      about       that       said        instead             of    diluting             him,

 6    let' s     change       -   -




 7           A
             .         No,    no,       no.      I
                                                 'm        talking             about          the

 8    spreadsheets            that       Bob     Buczkowski                   did    -   -




 9           Q
             .         And    I
                              'm        saying        other          than       that.

1
0            A
             .         Why    other          than     that?

1
1            Q
             .         Other          than     that.           Other          than       your

1
2    understanding                of    the

1
3            A
             .         Okay.           It' s    not       my    understanding.                          It' s

1
4    black       and    white.           It     is    what       it       is.

1
5            Q
             .         Okay.           You     are    right.              They       are       what       they

1
6     are.

1
7            A
             .         Okay.

1
8            Q
             .         Other          than     those,          are       you    aware          of       any

1
9    evidence          whatsoever              that       his    ownership                   was    diluted

20   before       September             1
                                        5th,         2
                                                     016?

21           A
             .         There' s         a lot        of    papers             around          here.           I




                                          V
                                          eri
                                            tex
                                              tLega
                                                  l S
                                                    olu
                                                      tion
                                                         s
                  2
                  15-241-1000          6
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                                                                                             P
                                                                                             age        2
                                                                                                        0


1   don' t       know       of    any    that       I can       point       to    at    the

2   moment.

3                      MR.       LEMLEY:           I don' t      remember             which       one

4    this    was.           Do    you    remember          this       one,       what       this       i
                                                                                                       s?

5    I
     s    that        1
                      2?         I thought          it    would       be    easier          than

6    remarking             them       all.

7                      MS.       VRANIAN:           I
                                                    t's        1
                                                               2.

8   BY    MR.     LEMLEY:

9           Q
            .          Let's          look    at    1
                                                    2,     if    you       would.           So,    this

1
0   was     an    email          from    back       in    2
                                                          011       that        you    may    have

1
1    seen    me       talk       to    Mr.    Garofalo          about.

1
2           A
            .          Um-hum.

1
3           Q
            .          I
                       t's        from       him    to    you    and       Mr.    Buczkowski,

1
4   Mr.     Lombardo,             Mr.    Kraemer,          and      in     the    message,             it

1
5    says,       At    our       September          1
                                                    st     meeting          in    Madison's

1
6    office,          we    discussed          that       s
                                                          ince        the       current

1
7    stockholder's                agreement,             SA,    was      s
                                                                         ilent         on    what

1
8   would        happen          if    a shareholder             did       not    make       their

1
9    requested             cash-call          obligation,             that       I would          look

2
0    into    some          alternatives             from       which       we    could       generate

2
1    a policy          that       we    would       use    to    amend          the    SA.        Do    you




                                             V
                                             eri
                                               tex
                                                 tLega
                                                     l S
                                                       olu
                                                         tion
                                                            s
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                                                                                Page         21


 1    see    that?


 2           A.      I do.


 3           Q
             .       On    the    attachment,            there     are    several


 4    alternatives,             two    of   which,       number       3 and    number         4
                                                                                              ,


 5   woul d       have    involved          diluting      the    shareholder' s


 6    stock       based    on    the    unpai d      contributions;            is    that


 7    right?


 8           A.      That' s      correct.


 9           Q
             .       And    none       of    these    were      ever     adopted,


10    right?


11           A.      They       were    never      formalized,           no.


12           Q
             .       Okay.


13                   MR.    LEMLEY:          Mark     this      one,     please      -   -




14   wait.         She    said    it' s     Exhibit       6
                                                          .


15                   MS.    VRANI AN:          Which      one    is    it?


16                   MR.    LEMLEY:           This    one?


17                   MS.    VRANI AN:          Okay.       Got     it.


18                   MR.    LEMLEY:           He   can    have     that      one,    too.


19    That' s      fine.


20   BY     MR.    LE MLEY:


21           Q
             .       So,    this       letter      dated      January        14th,       2016




                                       V
                                       eri
                                         tex
                                           tLega
                                               lSo
                                                 lut
                                                   ion
                                                     s
                   2
                   15-241-1000    6
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                                                     02-571-0510      2
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                                                                                           P
                                                                                           age     2
                                                                                                   2


1    i
     s     from Mr.           Scarlett,          a
                                                 s     counsel          f
                                                                        or     Madison

2   Mechanical,               to    Mr.       Buczkowski's          counsel,          and    at    the

3   end     of        the    f
                             irst        paragraph          it    says,       Accordingly,

4   pursuant            to    the       Madison's       s
                                                        tockholder's                 agreement,

5    of    which        your       c
                                   lient        i
                                                s     a party,          Mr.    Buczkowski          i
                                                                                                   s

6   now     obligated              to    sell    his    s
                                                        tock        in    Madison.           Do    you

7    see    that?

8           A
            .           I do.           I just       want    to    correct.           I
                                                                                      t's     from

9   Baxter,            Baker,       Daryl       S
                                                idle,        to    Mr.    Scarlett.

1
0           Q
            .           My    apologies.

1
1           A
            .           Yeah,       I
                                    'm        with    you.        But    yes.        The    answer

1
2    i
     s     yes.

1
3           Q
            .           Okay.           And    then    the       third    paragraph

1
4   explains            that       they       calculated          the    purchase          price

1
5    f
     or     the        stock       at    z
                                         ero     dollars,          correct?

1
6           A
            .           Correct.

1
7           Q
            .           Do    you       know    how    much       stock       they

1
8   were     -    -    they    were       buying       back?

1
9           A
            .           I don' t         know.

2
0           Q
            .           So,    this       was    January          1
                                                                  4th,        2
                                                                              016.         Would

2
1    they    have           been    buying       back       7 percent,          9 percent,          or




                                           V
                                           eri
                                             tex
                                               tLega
                                                   l S
                                                     olu
                                                       tion
                                                          s
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                                                                                      P
                                                                                      age       2
                                                                                                3


1    1
     3    percent,          do    you    know?

2           A
            .         I believe          it       would    have    been       the    7 point

3   whatever.

4           Q
            .         The    last       paragraph          on    the    f
                                                                        irst        page,    it

5    says,      On    a related          note,       it    i
                                                           s     our    understanding

6    that    Madison         i
                             s     indebted          to    your    c
                                                                   lient        in    the

7    amount      of       approximately             $
                                                    150,000,           plus    accrued

8    interest         pursuant          to    a promissory             note    from Madison

9   payable          to    the    order       of    your    client          dated    October

1
0    1
     7,     2
            014.

1
1                     In    addition,             however,       your       c
                                                                            lient     i
                                                                                      s

1
2    indebted         to    Madison          in    the    amount       of    approximately

1
3    $
     140, 609,            which    represents             his    delinquent          capital

1
4    contributions.                Do    you       s
                                                   ee     that?

1
5           A
            .         Where       i
                                  s     that?

1
6           Q
            .         Right       at    the       bottom    of    the       f
                                                                            irst     page.

1
7           A
            .         Oh,    right       here.           Yeah.     Yeah.        Right.

1
8    Sure.

1
9           Q
            .         So,    if    his       shares       had    been       diluted,      how

2
0    could      he    s
                      till        have       delinquent          capital

2
1    contributions?




                                         V
                                         eri
                                           tex
                                             tLega
                                                 l S
                                                   olu
                                                     tion
                                                        s
                 2
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                                                                                Page   2
                                                                                       4


 1           A.     I don' t      have    an    answer       for    that.


 2           Q
             .      Okay.


 3                  MR.    LEMLEY:        I don' t         have    anything       else.


 4                  MS.    VRANI AN:          I don' t      have    anything       for


 5    you,    Glenn.


 6                  THE    WITNESS:           Oh,    come    on.


 7                  MR.    LEMLEY:        Oh,       man.


 8                  MS.    VRANI AN:          We' re    going      to    read    and


 9    sign.


10                   (
                     Whereupon,          the    deposition          of    Glenn


11   Haslam       was   concluded        at    3
                                               : 08     p. m.,     and    the    reading


12    and    signing      of    the   transcript           was    not    waived.)


13


14


15


16


17


18


19


20


21




                                      Ver
                                        itex
                                           tLega
                                               l S
                                                 olu
                                                   tions
                  2
                  15-241-1000    6
                                 10-434
                                      -8588         3
                                                    02-571-0510    2
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                                                                                              P
                                                                                              age      2
                                                                                                       5


1                 Madison          Mechanical,                Inc.,       et    al.       v
                                                                                          .

                                    Twin       City       Fire       Ins.,          et    al.

2                                       Glenn       Haslam

3                   INSTRUCTIONS               TO    THE       WITNESS

4                   P
                    lease          read    your          deposition             over

5    carefully         and make          any    necessary             corrections.                  You

6    should       s
                  tate       the    reason          in    the       appropriate               space    on

7    the   errata       sheet       f
                                    or     any       corrections                that       are    made.

8                   After      doing       s
                                           o,        please          s
                                                                     ign        the       errata

9    sheet    and      date    it.

1
0                   You      are    s
                                    igning           same          subject          to    the

1
1    changes      you     have      noted       on       the       errata       sheet,          what

1
2   will     be   attached          to    the       deposition.

1
3                   I
                    t     i
                          s    imperative                that       you    return          the

1
4    original       errata         sheet       to    the       deposing             attorney

1
5    thirty       (
                  30)     days      of    receipt             of    the    deposition

1
6    transcript         by    you.        If    you       fail       to    do       s
                                                                                    o,     the

1
7   deposition          transcript             may       be    deemed          to    be    accurate

1
8    and may      be    used       in    court.

1
9

2
0

2
1      Job    #
              3489183




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                                         eri
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                                             tLega
                                                 l S
                                                   olu
                                                     tion
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 1                 Madison     Mechanical,         Inc.,    et   al.    v.


                              Twin     City    Fire,    Ins.,    et    al.


 2                                   Glenn    Haslam


 3                                     ERRATA


 4                PAGE       LI NE     CHANGE


 5


 6                Reason:


 7


 8                Reason:


 9


10                Reason:


11


12                Reason:


13


14                Reason:


15


16                Reason:


17


18                Reason:


19


20                Reason:


21     Job   #3489183




                                Ver
                                  itex
                                     tLega
                                         l S
                                           olu
                                             tions
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                                                                                     P
                                                                                     age     2
                                                                                             7


1                  Madison         Mechanical,          I
                                                        nc.,     et    al.       v
                                                                                 .

                               Twin    City       F
                                                  ire     I
                                                          ns.,        et    al.

2                                  G
                                   lenn   Haslam

3                       ACKNOWLEDGMENT             OF    DEPONENT

4                  I
                   ,    GLENN       HASLAM,       do    hereby    c
                                                                  ertify             that    I

5   have    read    the      f
                             oregoing pages              and   that        the    s
                                                                                  ame       i
                                                                                            s

6    a c
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7    to   the   questions          therein    propounded,             except         f
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8    c
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9    any,   noted      in    the    attached       errata      sheet.

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    Case 1:17-cv-01357-SAG Document 87-31 Filed 09/05/19 Page 30 of 38


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1    State       of    Maryland

2   County        of       Baltimore,          to      wit:

3                          I
                           ,    Michele        D
                                               .       Lambie,          a Notary         Public        of

4    the    State          of   Maryland,           County         of    Baltimore,             do

5   hereby        certify          that       the      within-named               witness

6   personally              appeared          before       me      at    the      time     and       place

7   herein        s
                  et        out,       and    after       having        been       duly     sworn          by

8   me,     according             to    law,       was    examined           by    counsel.

9                          I further          certify         that       the      examination

1
0   was     recorded            stenographically                   by   me     and    this

1
1    transcript             i
                            s     a true       record         of    the      proceedings.

1
2                          I further          certify         that       I am      not     of

1
3    counsel          to    any    of    the       parties,         nor      related        to       any

1
4    of    the    parties,             nor    in    any    way      interested             in    the

1
5    outcome          of    this       action.

1
6                          As   witness        my      hand     this      2
                                                                          7th        day    of

1
7   August,           2
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2
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                     Federal          Rules          of    Civil       Procedure


                                                Rule       30




    (
    e)     Review        By    the    Witness;             Changes.


    (
    1)     Review;        Statement             of    Changes.          On    request         by    the


    deponent        or    a party          before          the    deposition             is


    completed,           the    deponent             must    be    allowed          30    days


    after       being     notified          by       the    officer          that    the


    transcript           or    recording             is    available          in    which:


    (
    A)     to    review        the    transcript             or    recording;             and


    (
    B)     if    there        are    changes          in    form       or    substance,            to


    sign    a statement              listing          the    changes          and    the


    reasons        for    making          the m.


    (
    2)     Changes        Indicated             in    the    Officer' s            Certificate.


    The    officer        must       note       in    the    certificate             prescribed


    by    Rule     30( f) (
                          1)         whether          a review          was    requested


    and,    if     so,    must       attach          any    changes          the    deponent


    makes       during        the    30-day          period.




    DISCLAI MER:              THE    FOREGOING             FEDE RAL         PROCEDURE         RULES


    ARE    PROVIDED           FOR    INFORMATI ONAL               PURPOSES          ONLY.


    THE    ABOVE     RULES          ARE    CURRENT          AS    OF    APRIL       1
                                                                                    ,


    2019.        PLE ASE       REFER       TO    THE       APPLICABLE          FEDERAL          RULES


    OF    CI VIL    PROCEDURE             FOR    UP-TO-DATE             INFORMATI ON.
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       COMPANY          CERTIFICATE                AND    DISCLOSURE                STATEMENT


Veritext       Legal          Solutions             represents                that    the
foregoing          transcript             is       a true,          correct          and    complete
transcript          of    the       colloquies,                questions             and    answers
as    submitted by             the       court       reporter.                Veritext       Legal
Solutions          further          represents                that       the    attached
exhibits,          if    any,       are       true,       correct             and    complete
documents          as    submitted by                the       court          reporter       and/or
attorneys          in    relation             to    this       deposition             and    that
the    documents          were       processed                in    accordance             with
our    litigation             support          and production                   standards.


Veritext       Legal          Solutions             is    committed             to    maintaining
the    confidentiality                   of    client          and witness                information,
in    accordance          with       the       regulations                promulgated             under
the    Health       Insurance             Portability                   and Accountability
Act    (
       HIPAA
           ),            as    amended with                   respect          to    protected
health       information             and       the       Gramm-Leach-Bliley Act,                        as
amended,       with       respect             to    Personally                Identifiable
Information             (
                        P11)    .    Physical             transcripts                and    exhibits
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